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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Criminal Case No. 19-cr-00086-REB-2

UNITED STATES OF AMERICA,

      Plaintiff,

v.

2. BRAINARD CLARK,

      Defendant.


     UNITED STATES’ MOTION TO GRANT THE DEFENDANT AN ADDITIONAL
           ONE-LEVEL DECREASE PURSUANT TO U.S.S.G. ' 3E1.1(b)


      The United States of America (government), by and through Kelly R. Churnet,

Assistant United States Attorney, at sentencing, and as a condition thereof, moves the

Court for an order granting the defendant an additional one-level decrease in the

offense level for acceptance of responsibility pursuant to United States Sentencing

Guidelines section 3E1.1(b). The defendant=s agreement to plead guilty and timely

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notice thereof permitted the government to avoid preparing for trial and permitted both

the government and the Court to allocate their resources more efficiently.



      Dated: December 22, 2021

                                                COLE FINEGAN
                                                United States Attorney

                                                s/ Kelly R. Churnet
                                                Kelly R. Churnet
                                                Assistant United States Attorney
                                                United States Attorney's Office
                                                1801 California St., Suite 1600
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                             CERTIFICATE OF SERVICE

I hereby certify that on December 22, 2021, I electronically filed with the Clerk of the
Court using the CM/ECF system which will send notification of such filing to the parties
on record.


                                                       s/Stephanie Price
                                                       Stephanie Price
                                                       Legal Assistant




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